Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 1 of 38 Page ID #:8




                                EXHIBIT B                                  7
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 2 of 38 Page ID #:9




                                EXHIBIT B                                  8
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 3 of 38 Page ID #:10




                                 EXHIBIT B                                  9
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 4 of 38 Page ID #:11




                                 EXHIBIT B                                 10
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 5 of 38 Page ID #:12




                                 EXHIBIT B                                 11
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 6 of 38 Page ID #:13




                                 EXHIBIT B                                 12
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 7 of 38 Page ID #:14




                                 EXHIBIT B                                 13
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 8 of 38 Page ID #:15




                                 EXHIBIT B                                 14
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 9 of 38 Page ID #:16




                                 EXHIBIT B                                 15
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 10 of 38 Page ID #:17




                                 EXHIBIT B                                 16
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 11 of 38 Page ID #:18




                                 EXHIBIT B                                 17
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 12 of 38 Page ID #:19




                                 EXHIBIT B                                 18
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 13 of 38 Page ID #:20




                                 EXHIBIT B                                 19
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 14 of 38 Page ID #:21




                                 EXHIBIT B                                 20
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 15 of 38 Page ID #:22




                                 EXHIBIT B                                 21
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 16 of 38 Page ID #:23




                                 EXHIBIT B                                 22
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 17 of 38 Page ID #:24




                                 EXHIBIT B                                 23
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 18 of 38 Page ID #:25




                                 EXHIBIT B                                 24
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 19 of 38 Page ID #:26




                                 EXHIBIT B                                 25
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 20 of 38 Page ID #:27




                                 EXHIBIT B                                 26
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 21 of 38 Page ID #:28




                                 EXHIBIT B                                 27
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 22 of 38 Page ID #:29




                                 EXHIBIT B                                 28
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 23 of 38 Page ID #:30




                                 EXHIBIT B                                 29
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 24 of 38 Page ID #:31




                                 EXHIBIT B                                 30
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 25 of 38 Page ID #:32




                                 EXHIBIT B                                 31
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 26 of 38 Page ID #:33




                                 EXHIBIT B                                 32
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 27 of 38 Page ID #:34




                                 EXHIBIT B                                 33
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 28 of 38 Page ID #:35




                                 EXHIBIT B                                 34
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 29 of 38 Page ID #:36




                                 EXHIBIT B                                 35
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 30 of 38 Page ID #:37




                                 EXHIBIT B                                 36
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 31 of 38 Page ID #:38




                                 EXHIBIT B                                 37
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 32 of 38 Page ID #:39




                                 EXHIBIT B                                 38
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 33 of 38 Page ID #:40




                                 EXHIBIT B                                 39
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 34 of 38 Page ID #:41




                                 EXHIBIT B                                 40
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 35 of 38 Page ID #:42




                                 EXHIBIT B                                 41
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 36 of 38 Page ID #:43




                                 EXHIBIT B                                 42
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 37 of 38 Page ID #:44




                                 EXHIBIT B                                 43
Case 8:16-cv-00262-AG-JCG Document 1-2 Filed 02/16/16 Page 38 of 38 Page ID #:45




                                 EXHIBIT B                                 44
